      Case 18-53572-pmb           Doc 13     Filed 03/27/18 Entered 03/27/18 16:30:03                 Desc EDO
                                                     Page 1 of 1
                                     UNITED STATES BANKRUPTCY COURT
                                          Northern District of Georgia

In Re: Kenneth Gregory Cook ("Employee")                      Case No.: 18−53572−pmb
       xxx−xx−9692                                            Chapter: 13
          Debtor
To: AutoNation ("Employer")
    3711 Buford Drive
    Buford, GA 30519

         ORDER TO EMPLOYER TO DEDUCT AND REMIT A PORTION OF DEBTOR'S EARNINGS
                        FOR THE VOLUNTARY PAYMENT OF DEBTS



This is an ORDER of the United States Bankruptcy Court, NOT a garnishment.

The above−named Debtor/Employee has voluntarily filed a petition and plan under Chapter 13 of the United States
Bankruptcy Code seeking to pay, in whole or in part, certain debts under the protection of this Court. These debts are to
be paid by the Chapter 13 Trustee ("Trustee") from the Debtor/Employee's future earnings. Public policy requires the
above−stated Employer to assist in the rehabilitation of the Debtor/Employee to avoid a Chapter 7 liquidation.
The future earnings designated to pay these debts are not used for other purposes; accordingly, it is hereby
  ORDERED that:

1. The above−named Employer shall implement deductions from Debtor/Employee's earned wages as follows: Employer
shall immediately begin withholding from the wages, salary, commission, and all other earnings or income of
Debtor/Employee $ 620.00monthly and remit same promptly to Trustee no less frequently than once each month,
and shall continue deductions until ordered otherwise by this Court.

2. Employer is enjoined and restrained from discharging, terminating, suspending or discriminating against
Debtor/Employee on account of this earnings deduction order or the filing of a Chapter 13 by Debtor, for to permit
otherwise would render this order a nullity; and in the event of discharge, termination or suspension of Debtor/Employee
for any reason whatsoever, Employer is further ORDERED to notify Trustee of the discharge, termination, suspension
and the specific reason(s) therefor.

3. The Bankruptcy Code is a Federal law that preempts and suspends state garnishment and other collection actions
against Debtor/Employee. The automatic stay of 11 U.S.C. 362, together with other statutes enforcing Chapter 13 enjoin
and stay the continuation of any garnishment proceeding and any other acts to proceed further with that garnishment
proceeding. Therefore, if a summons of garnishment concerning Debtor/Employee has been served on Employer,
Employer is enjoined and stayed from making any further deductions from the Debtor/Employee's earnings on account
of said garnishment, and Employer is ORDERED to remit immediately to Trustee any sums already deducted and not
yet paid over to the garnishment court.

4. This order supersedes any previous order issued with respect to the debtor's wages.

MAIL ALL REMITTANCES WITH CASE NAME AND NUMBER TO:
Melissa J. Davey
Melissa J. Davey, Standing Ch 13 Trustee
Suite 200
260 Peachtree Street, NW
Atlanta, GA 30303

                                                              Paul Baisier
                                                              United States Bankruptcy Judge
Entered on Docket: March 27, 2018


Form F64 (Revised 06/15/2004)
